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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 11
    BOY SCOUTS OF AMERICA AND                                Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC 1
                                                             (Jointly Administered)
                               Debtors
                                                             Re: D.I. 1144, 1161, 1164


                       MOTION TO SHORTEN NOTICE OF
               CENTURY’S MOTION TO COMPEL THE DEPOSITIONS
         OF MESSRS. KOSNOFF AND VAN ARSDALE, OR IN THE ALTERNATIVE
                    ADJOURN THE HEARING ON THE PENDING
                        2019 MOTIONS [D.I. 1144], [D.I. 1161]
                                 AND [D.I. 1164]

             Century respectfully request that the Court enter an order, substantially in the form

attached hereto as Exhibit A, shortening notice of Century’s Motion to Compel the Depositions

of Messrs. Kosnoff and Van Arsdale, or in the Alternative, Adjourn the Hearing on the Pending

2019 Motions [D.I. 1144], [D.I. 1161] and [D.I. 1164] so it may be presented at a telephonic

hearing as soon as the court is available to allow these depositions to take place before the

October 14 omnibus hearing.

             In support of this motion, Century respectfully states as follows:

             In carrying over the last hearing, the Court directed the parties to complete their

submissions and go forward with any necessary discovery. Despite this directive, the entity

calling itself the “Coalition” has stalled filing its promised amended 2019 statement, frustrating

the attempt to depose the founders of the Coalition. The filing of the Coalition’s amended 2019



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        The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal
tax identification number, are as follows: Boy Scouts of America (6300) and Delaware Boy Scouts, LLC
(4311). The Debtors’ mailing address is 1325 West Walnut Lane, Irving, Texas 75038.
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statement before objections are due and depositions are taken is an obvious prerequisite to

addressing the motions. Yet, as of October 6, the Coalition has not filed its amended 2019

statement or said when it will do so, and the two founders of the Coalition, Tim Kosnoff and

Andrew Van Arsdale, have refused to confirm their appearance for deposition on a date after the

amended 2019 statement is produced but before a hearing.

       Since the September 9 omnibus hearing, Century has both sought to engage Messrs.

Kosnoff and Van Arsdale’s attorney, and attempted to serve Messrs. Van Arsdale and Kosnoff.

Mr. Kosnoff’s Houston address is a drop box, and a copy of the subpoena was left there. 2 The

Puerto Rico address for Mr. Kosnoff turned out to be a marina, despite Mr. Kosnoff’s

representation on his letterhead that he practices law in San Juan. Mr. Van Arsdale likewise

could not be located at the address provided by Brown Rudnick, which is a store front in a closed

building. 3 The deponents’ lawyer, for his part, refused to provide addresses when the parties met

and conferred. And the only date that the deponents’ lawyer provided for a deposition was one

before the Coalition files its amended 2019 statement. 4

       The Coalition’s delay in filing its amended 2019 statement is tactical. Messrs. Kosnoff

and Van Arsdale’s excuses for not giving a date when they will appear for deposition after the

Coalition’s amended 2019 statement are meritless. Both are described in the notice of

appearance by their counsel as “Parties in Interest” in this case. As self-declared parties and

founders of the Coalition, a subpoena is unnecessary. Messrs. Kosnoff and Van Arsdale claim a

40% interest in the bulk of the inventory of alleged claims that the Coalition says it represents

against BSA. The leading treatise on bankruptcy provides that there is no necessity for the



2
       Kirschenbaum Decl. Ex. 1.
3
       Kirschenbaum Decl. Ex. 2.
4
       Kirschenbaum Decl. Ex. 3.


                                                 2
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service of a subpoena upon a party witness.

       Pursuant to Local Rule 9006-1(e), we contacted Debtors’ counsel prior to filing this

Motion to Shorten, and the Debtors have been and continue to be unwilling to negotiate a

resolution in advance of the hearing.

 Dated: October 6, 2020                         Respectfully Submitted,


                                                By: /s/ Stamatios Stamoulis
                                                    Stamatios Stamoulis (#4606)

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                                                successor to CCI Insurance Company, as
                                                successor to Insurance Company of North
                                                America and Indemnity Insurance Company of
                                                North America, Westchester Fire Insurance
                                                Company and Westchester Surplus Lines
                                                Insurance Company




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                      EXHIBIT A
                    Proposed Order
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11
    BOY SCOUTS OF AMERICA AND                               Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC 5
                                                            (Jointly Administered)
                              Debtors
                                                            Re: D.I. 1144, 1161, 1164, ___


      [PROPOSED] ORDER SHORTENING NOTICE OF CENTURY’S MOTION TO
    COMPEL THE DEPOSITIONS OF MESSRS. KOSNOFF AND VAN ARSDALE, OR IN
         THE ALTERNATIVE ADJOURN THE HEARING ON THE PENDING
               2019 MOTIONS [D.I. 1144], [D.I. 1161] AND [D.I. 1164]

             Upon the motion (the “Motion to Shorten”) of Century, for entry of an order shortening

notice of Century’s Motion to Compel the Depositions of Messrs. Kosnoff and Van Arsdale, or in

the Alternative, Adjourn the Hearing on the Pending 2019 Motions, the Court having reviewed

the Motion to Shorten and the Motion, and found that the relief requested in the Motion to

Shorten is justified under the circumstances, it is hereby ORDERED that:

             1.     The Motion to Shorten is GRANTED.

             2.     The Motion will be considered at a telephonic hearing scheduled for October __,

2020, at _______.

             3.     This Court retains jurisdiction to construe and enforce the terms of this Order.

Dated: October__, 2020
       Wilmington, Delaware

                                         THE HONORABLE LAURIE SELBER SILVERSTEIN
                                         UNITED STATES BANKRUPTCY JUDGE


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        The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal
tax identification number, are as follows: Boy Scouts of America (6300) and Delaware Boy Scouts, LLC
(4311). The Debtors’ mailing address is 1325 West Walnut Lane, Irving, Texas 75038.
